
39 So. 3d 550 (2010)
FLORIDA STANDARDBRED BREEDERS AND OWNERS ASSOCIATION, INC., Appellant,
v.
PPI, INC., a Florida corporation, d/b/a, Pompano Park Racing; and the Florida Division of Pari-Mutuel Wagering of the Florida Department of Business and Professional Regulation, Appellees.
No. 1D09-5388.
District Court of Appeal of Florida, First District.
July 20, 2010.
Jeffrey C. Schneider of Levine Kellogg Lehman Schneider &amp; Grossman LLP, Miami, for Appellant.
Jack M. Skelding, Jr. of Brewton Plante, P.A., Tallahassee, for Appellee PPI, Inc.; Garnett W. Chisenhall, Tallahassee, for Appellee Florida Department of Business and Professional Regulation.
PER CURIAM.
DISMISSED. See Johnson v. First City Bank of Gainesville, 491 So. 2d 1217 (Fla. 1st DCA 1986) (holding that order granting motion to dismiss with prejudice is not final). In light of the dismissal, the appellee's Motion to Dismiss, filed on December 10, 2009, is denied as moot.
WOLF, KAHN, and VAN NORTWICK, JJ., concur.
